                          UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

HARRY A. SCHEINA, III,                          )
                                                )
                            Plaintiff,          )
                                                )
       vs.                                      )      Case No. 18-3210
                                                )
JAMES SIGMAN,                                   )
                                                )
                            Defendants.         )

                             CERTIFICATE OF SERVICE

       COMES NOW, Defendant James Sigman, and hereby certifies that a true and

accurate copy of the forgoing Defendant’s First Initial Rule 26 Disclosures, Defendant’s

First Interrogatories to Plaintiff and Defendant’s First Request for Production of

Documents, were forwarded to Plaintiff by U.S. First Class postage pre-paid, this 23rd day

of August, 2018 to:

Mr. Harry A. Scheina, III #101885
30227 US Highway 136
Maryville, MO 64468



                                            Respectfully submitted,

                                            KECK & AUSTIN, LLC

                                                /s/ Matthew D. Wilson
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